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                              UNITED STATES DISTRICT COURT
                                        FOR THE
                                  DISTRICT OF VERMONT

UNITED STATES OF AMERICA                         :
                                                 :
               v.                                :     Case No. 1:10-cr-110-jgm-5
                                                 :
ANTHONY CAROSELLA,                               :
                                                 :
            Defendant.                           :
_________________________________                :

                                              ORDER
                                             (Doc. 349)

        On December 2, 2016, Anthony Carosella filed a motion to reduce his sentence under

18 U.S.C. § 3582(c)(2). (Doc. 349.) The government opposes the motion (Doc. 354) and Carosella

filed a reply (Doc. 355). For the reasons discussed below, Carosella’s motion to reduce his sentence

is denied.

        On May 5, 2011, Carosella was sentenced to concurrent 120-month terms of imprisonment

following his guilty pleas to conspiring to distribute heroin, armed robbery, and conspiracy to

commit pharmacy burglaries (three separate offenses). (Doc. 55 (Judgment).)

        Carosella asserts that, under 18 U.S.C. § 3582(c)(2), he was sentenced to a term of

imprisonment based on a sentencing range that has been lowered by the Sentencing Commission.

(Docs. 349, 355.) He further asserts a reduction of his sentence is appropriate in this case because

of his record since being sentenced and seeks a reduction to the low-end of his proposed amended

drug guideline range of 84-105 months. (Doc. 349 at 6-7.)

        The government asserts the motion should be denied because, even considering the

amendment to the guidelines, Carosella’s guideline range remains the same 100-125 months and

therefore no change to his sentence is allowed. (Doc. 354.)
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        “A judgment of conviction that includes a sentence of imprisonment constitutes a final

judgment and may not be modified by a district court except in limited circumstances.” Dillon v.

United States, 560 U.S. 817, 824 (2010) (internal quotation marks and citation omitted). “When the

Sentencing Commission makes a Guidelines Amendment retroactive, 18 U.S.C. § 3582(c)(2)

authorizes a district court to reduce an otherwise final sentence that was based on the amended

provision.” Id. at 821. “Section 3582(c)(2) establishes an exception to the general rule of finality ‘in

the case of a defendant who has been sentenced to a term of imprisonment based on a sentencing

range that has subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C.

§994(o)’ and made retroactive pursuant to § 994(u).” Id. at 824 (quoting 18 U.S.C. § 3582(c)(2)

(emphasis added)). The parties agree Amendment 782 to the Sentencing Guidelines reduced the

base offense level for Carosella’s drug offense by two and was made retroactively applicable by

Amendment 788. (Docs. 349 at 3, 354 at 4; see also U.S. Sentencing Guidelines Manual

(“U.S.S.G.”) § 1B1.10(a), (d) (U.S. Sentencing Comm’n 2016).)

        To determine whether to grant a motion for a sentence reduction under § 3582(c)(2), the

court must employ a two-step approach. Dillon, 560 U.S. at 827. The Court must first evaluate

whether the defendant is eligible for a sentence reduction by calculating the amended guideline

range that would have been applicable if the relevant amendment had been in effect at the time of

sentencing. If the defendant is eligible for a reduction--because the amended guideline range is

lower than the original guideline range--the court must then consider any applicable § 3553(a)

factors and determine whether, in its discretion, a reduction is warranted in whole or in part under

the particular circumstances of the case. See id.

        At his 2011 sentencing, the Court determined Carosella’s advisory Sentencing Guidelines

range was 100-125 months, denied his request for a non-guideline sentence, and sentenced him to


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120 months on each of the three counts of conviction, to be served concurrently. Carosella argues

his amended guideline range is 84-105 months when considering Amendment 782 reduced the base

offense level for his heroin offense by two levels. (Doc. 349 at 3.) The government argues

Carosella’s amended guideline range does not change because of the application of the grouping

rules. (Doc. 354 at 5.)

        Carosella’s amended guideline range calculation, taking into consideration the two-level

decrease to the offense level of his drug conviction, is as follows. As a result of the three pharmacy

burglaries, there were five groups in the guideline analysis: Group 1 (drugs); Group 2 (armed

robbery); Group 3 (pharmacy burglary 1); Group 4 (pharmacy burglary 2) and Group 5 (pharmacy

burglary 3). Although the drug amendment impacts the drug calculation, the guideline amendment

reduction raises Carosella's exposure in the multiple-count grouping analysis under U.S.S.G.

§ 3.D1.4 (U.S. Sentencing Comm’n 2011):

        Group                       Pre-Amendment               Post-Amendment
        1 Drug Conspiracy              28 (1 Unit)                26 (1 Unit)
        2 Armed Robbery                25 (1 Unit)                25 (1 Unit)
        3 Pharmacy Burglary 1          19 (0 Units)               19 (1/2 Unit)
        4 Pharmacy Burglary 2          19 (0 Units)               19 (1/2 Unit)
        5 Pharmacy Burglary 3          19 (0 Units)               19 (1/2 Unit)

        Total Units:                     +2 Units                   +3.5 Units
        Total Offense Level Increase:    +2 Levels                  +4 Levels1
        Total Offense Level           30                           30

Carosella’s pre-amendment and post-amendment total offense levels--considering his three-level

reduction for acceptance of responsibility--are the same at 27. The guideline imprisonment range




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          See United States v. Aguilar, 663 Fed. App’x 41, 43 (2d Cir. 2016) (applying the grouping
rules of U.S.S.G. § 3D1.4 when the amended differential in offense levels between groups was
affected by the two-level reduction of Amendment 782).

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for an offense level of 27 and Carosella’s criminal history category IV is 100-125 months, the same

range under which he was sentenced in 2011.

       Based on the foregoing, Carosella does not benefit from the amendment to the drug quantity

table because he was not sentenced to a term of imprisonment based on a sentencing range that has

subsequently been lowered by the Sentencing Commission. Accordingly, a reduction in Carosella’s

term of imprisonment is not authorized by 18 U.S.C § 3582(c)(2) and Carosella’s motion to reduce

his sentence (Doc. 349) must be DENIED. The Court notes Carosella’s efforts since being

incarcerated, including participating in therapeutic offerings, completing a drug education program

and basic Spanish course, and keeping a clean discipline record, and encourages him to continue to

better himself during the remainder of his sentence.

       SO ORDERED.

       Dated at Brattleboro, in the District of Vermont, this 16th day of March, 2017.

                                                       /s/ J. Garvan Murtha
                                                       Hon. J. Garvan Murtha
                                                       United States District Judge




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